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                    UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION




UNITED STATES OF AMERICA,

v.                                                                    4:89cr4004-WS

STEVEN DEAN,

              Defendant.



                 ORDER DENYING DEFENDANT’S REQUEST FOR A
                       CERTIFICATE OF APPEALABILITY

       Before the court is the defendant’s request for a certificate of appealability. Doc.

849. The court having already entered an order denying the defendant a certificate of

appealability, doc. 847, and finding no reason to change that order, it is ORDERED:

       The defendant’s request (doc. 849) for a certificate of appealability is DENIED.

       DONE AND ORDERED this July 18, 2005.




                                          /s William Stafford
                                          WILLIAM STAFFORD
                                          SENIOR UNITED STATES DISTRICT JUDGE
